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                  EXHIBIT B
               Case 2:22-cv-01338-EP-JSA Document 30-4 Filed 06/14/22 Page 2 of 4 PageID: 310

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From:                   Pratik Ghosh
Sent:                   Friday, May 13, 2022 8:09 PM
To:                     'Kevin Laukaitis'; Jonathan Shub; Daniel Tomascik; ltfisher@bursor.com; slitteral@bursor.com
Cc:                     gmason@masonllp.com; dperry@masonllp.com; jpollack@calcaterrapollack.com; lfeldman@4-
                        justice.com; Matt Borden; Mitchell Stein; David Kwasniewski
Subject:                RE: Dean v. B&G Foods, Inc. D.N.J., Case No. 2:22-CV-01338-SDW-JSA


Kevin,

Does your response mean you didn’t ask your co‐counsel about the defects in the complaint we identified to them
before filing an exact copy? Additionally, we note that this complaint, like its predecessor, is based on an article
published in November 2021. Given the prior complaint and the article were prepared months ago and you are co‐
counsel with the filers of the prior complaint, it would seem you have already had sufficient time to investigate the
allegations in the complaint and address the defects we previously raised.

Perhaps if you could provide us with more details regarding your investigation and the “substantive issues” you believe
you must now address, we could better understand why you are requesting additional time.

Best,
Pratik

Pratik K. Raj Ghosh
BRAUNHAGEY & BORDEN              LLP
Direct: (415) 715‐4302


From: Kevin Laukaitis <klaukaitis@shublawyers.com>
Sent: Thursday, May 12, 2022 5:18 PM
To: Pratik Ghosh <Ghosh@braunhagey.com>; Jonathan Shub <jshub@shublawyers.com>; Daniel Tomascik
<dtomascik@shublawyers.com>; ltfisher@bursor.com; slitteral@bursor.com
Cc: gmason@masonllp.com; dperry@masonllp.com; jpollack@calcaterrapollack.com; lfeldman@4‐justice.com; Matt
Borden <borden@braunhagey.com>; Mitchell Stein <Stein@braunhagey.com>; David Kwasniewski
<kwasniewski@braunhagey.com>
Subject: RE: Dean v. B&G Foods, Inc. D.N.J., Case No. 2:22‐CV‐01338‐SDW‐JSA


*** EXTERNAL MESSAGE ***

Hi Pratik:

I’ve never had any communication with you regarding defects in the complaint. Perhaps you are referring to the
complaint filed by Bursor Fischer.

Given the substantive issues raised in your motion and other deadlines and due dates among our group, we hope you’re
amenable to a modest extension of time. If you are not, please let us know and we will file the appropriate papers
requesting an extension and you can oppose the request.

We were able to agree on a timing proposal for the filing of your motion to dismiss, so I hope we can reach a similar
agreement here (and agree on similar timing proposals in the future).


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Regards,
Kevin

From: Pratik Ghosh <Ghosh@braunhagey.com>
Sent: Thursday, May 12, 2022 4:49 PM
To: Kevin Laukaitis <klaukaitis@shublawyers.com>; Jonathan Shub <jshub@shublawyers.com>; Daniel Tomascik
<dtomascik@shublawyers.com>; ltfisher@bursor.com; slitteral@bursor.com
Cc: gmason@masonllp.com; dperry@masonllp.com; jpollack@calcaterrapollack.com; lfeldman@4‐justice.com; Matt
Borden <borden@braunhagey.com>; Mitchell Stein <Stein@braunhagey.com>; David Kwasniewski
<kwasniewski@braunhagey.com>
Subject: RE: Dean v. B&G Foods, Inc. D.N.J., Case No. 2:22‐CV‐01338‐SDW‐JSA

Hi Kevin,

While we are always happy to accommodate reasonable extension requests, we’re a bit puzzled by this one. This
complaint was first filed months ago, and then withdrawn after we told you it had several material defects. Given the
amount of time you have had to complete your investigation into Plaintiff’s allegations, why do you require an additional
30 days to amend the complaint now?

Best,
Pratik

Pratik K. Raj Ghosh
BRAUNHAGEY & BORDEN            LLP
Direct: (415) 715‐4302


From: Kevin Laukaitis <klaukaitis@shublawyers.com>
Sent: Thursday, May 12, 2022 9:36 AM
To: Pratik Ghosh <Ghosh@braunhagey.com>
Cc: Jonathan Shub <jshub@shublawyers.com>; jpollack@calcaterrapollack.com; lfeldman@4‐justice.com;
ltfisher@bursor.com; slitteral@bursor.com; gmason@masonllp.com; dperry@masonllp.com; David Kwasniewski
<kwasniewski@braunhagey.com>; Robert Petraglia <Petraglia@braunhagey.com>; Daniel Tomascik
<dtomascik@shublawyers.com>
Subject: RE: Dean v. B&G Foods, Inc. D.N.J., Case No. 2:22‐CV‐01338‐SDW‐JSA


*** EXTERNAL MESSAGE ***

Counsel:

In receipt of your motion to dismiss, we intend to amend our complaint under FRCP 15. Are you amenable to an
additional 30 day extension for us to file our amendment?

As it stands now, our amended complaint is due May 28. The new due date for the amended complaint would be June
27.

If this proposal is acceptable to you, we will draft the appropriate papers to be filed with the Court.

Thank you,

Kevin

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                                                   Shub Law Firm LLC
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                                                   Justice Takes Work. Results Take Grit.




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Thank you.




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